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EXHIBIT 11
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OnlyFans Appoints Amrapali Gan as
Chief Executive Officer

¥ OnlyFans

NEWS PROVIDED BY
OnlyFans —~
Dec 21, 2021, 09:00 ET

LONDON, Dec. 21, 2021 /PRNewswire/ -- OnlyFans, the subscription social media platform
revolutionising the creator economy by facilitating authentic connections between creators
and their fans, today announced the appointment of Amrapali "Ami" Gan as Chief Executive
Officer, effective December 21, 2021. Gan will assume the day-to-day leadership of the Company
from Tim Stokely, who will be stepping down to pursue new endeavors. Stokely has led the
company for the last five years and appointed Gan to continue the company's growth and drive

its vision and commitment to empowering creators.

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Amrapali “Ami” Gan , CEO, OnlyFans

Gan, 36, served as Chief Marketing and Communications Officer for OnlyFans and has been
with the organisation since 2020, working side-by-side with Stokely to grow OnlyFans into the
platform it is today. Ami is taking over this role from Stokely, who has been at the helm since
founding the company in 2016. He will continue with OnlyFans as an advisor guiding this

leadership transition.
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colleague who has the vision and drive to help the organisation reach its tremendous
potential," said Stokely, the Company's founder. "OnlyFans is still a new company and Ami

brings a fresh energy and reflects who we are as a business."

Prior to joining OnlyFans, Gan worked with rapid growth companies and fast-moving consumer
industries. She was with unicorn Quest Nutrition as the Head of Brand Communications, where
Ami helped them through a rapid growth period, and for Red Bull Media House focusing on

Activation & Communications. Most recently, she served as Vice President of Marketing, helping

launch and rebrand the first cannabis restaurant in the U.S.

"lam proud to assume this role. | look forward to continuing to work closely with our creator
community to help them maximize control over, and monetise, their content," said Gan. "I will
be leading an exceptionally talented team at OnlyFans that is delivering a unique experience
for our creators and fans. By blending state of the art technology with creative capital, we are

committed to being the safest social media platform in the world."

ABOUT ONLYFANS:

OnlyFans is the subscription social platform revolutionising creator and fan connections. The
site is inclusive of artists and content creators from all genres and allows them to develop
authentic relationships with their fanbase. OnlyFans gives creators the opportunity to monetise
content they want to share. Founded in 2016, OnlyFans has since paid out over $5 billion (USD)
in creator earnings and established itself as the go-to platform for 180 million registered users

and over two million creators worldwide.

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